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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

SAMA CAMP, LLC,                         )
                                        )
      Plaintiff,                        ) CIVIL ACTION
                                        )
v.                                      ) FILE NO.: 1:22-cv-1722-TCB
                                        )
SAMA TEA, LLC; SAMA                     )
WORLDWIDE, INC.;                        )
SAMA BEVERAGES, LLC;                    )
100.CO; JAY SHETTY; RADHI               )
DEVLUKIA SHETTY, KIM                    )
PERELL; and JAMES BRENNAN               )
                                        )
      Defendants.                       )

             DEFENDANT KIM PERELL’S ANSWER AND
          DEFENSES TO PLAINTIFF’S AMENDED COMPLAINT

      Defendant Kim Perell (“Defendant”) hereby files her Answer and Defenses

to Plaintiff’s Amended Complaint (this “Answer”), respectfully showing the Court

as follows:

                               FIRST DEFENSE

      Plaintiff’s Amended Complaint fails to state a claim upon which relief can

be granted.

                              SECOND DEFENSE

      The Court lacks personal jurisdiction over this Defendant.
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                         THIRD DEFENSE

Venue over this Defendant is improper in this Court.

                        FOURTH DEFENSE

The Plaintiff’s Amended Complaint is barred by the following doctrines:

A.    Abandonment of the subject mark;

B.    Estoppel based on, among other things, Plaintiff’s abandonment of the

      Sama mark;

C.    Upon information and belief, Fraud, as more particularly stated in the

      Answer and Counterclaim of Sama Worldwide, Inc. and based on the

      fact that Plaintiff falsely represented to the United States Patent and

      Trademark its intent to use the mark in connection with all of the good

      and classifications set forth in its trademark application;

D.    Laches based on, among other things, Plaintiff’s abandonment of the

      Sama mark;

E.    Mistake based on, among other things, Plaintiff’s abandonment of the

      Sama mark;

F.    Upon information and belief, unclean hands based on, among other

      things, Plaintiff’s abandonment of the Sama mark and its false

      representations to secure registration of the Sama mark; and

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      G.     Waiver based on Plaintiff’s abandonment of the Sama mark.

                                 FIFTH DEFENSE

      As for her Fifth Defense, Defendant states upon information and belief, that

Plaintiff’s claim is barred due to its failure to join one or more indispensable

parties pursuant to Fed. R. Civ. P. 19.

                                SIXTH DEFENSE

      As for her Sixth Defense, Defendant gives notice that she intends to rely

upon and invoke any other Affirmative Defense that may become available to

appear during the discovery proceedings in this case and reserve her right to seek

to amend her Answer to assert any such defense.

                              SEVENTH DEFENSE

      As her Seventh Defense, Defendant responds to the individually numbered

paragraphs of the Plaintiff’s Amended Complaint as follows:

                           NATURE OF THE ACTION

                                          1.

      Defendant admits that Plaintiff contends that Defendants have violated the

Lanham Act and the common law of the State of Georgia, but Defendant denies

violating any law.




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                                       2.

      Defendant denies the allegations contained in Paragraph 2 of Plaintiff’s

Amended Complaint.

                                       3.

      Defendant denies the allegations contained in Paragraph 3 of Plaintiff’s

Amended Complaint.

                                       4.

      Defendant denies the allegations contained in Paragraph 4 of Plaintiff’s

Amended Complaint.

                                       5.

      Without admitting to the validity or sufficiency of such registration,

Defendant admits that in October 2017, Sama Camp obtained a federal registration

for the mark SAMA with the United States Patent Office. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 5 of Plaintiff’s Amended Complaint such that

they are denied.

                                       6.

      Defendant denies the allegations contained in Paragraph 6 of Plaintiff’s

Amended Complaint.

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                                         7.

      Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s

Amended Complaint.

                                         8.

      Defendant denies the allegations contained in Paragraph 8 of Plaintiff’s

Amended Complaint.

                                         9.

      Defendant denies the allegations contained in Paragraph 9 of Plaintiff’s

Amended Complaint.

                                 THE PARTIES

                                         10.

      Defendant admits Sama Camp is a limited liability company registered in the

State of Georgia. The remaining allegations contained in Paragraph 10 of

Plaintiff’s Amended Complaint are denied as stated.

                                         11.

      The allegations contained in Paragraph 11 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant denies the allegations contained in Paragraph 11

of Plaintiff’s Amended Complaint.

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                                         12.

      The allegations contained in Paragraph 12 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant denies the allegations contained in Paragraph 12

of Plaintiff’s Amended Complaint.

                                         13.

      The allegations contained in Paragraph 13 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant admits the allegations contained in Paragraph 13

of Plaintiff’s Amended Complaint.

                                         14.

      The allegations contained in Paragraph 14 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant denies the allegations contained in Paragraph 14

of Plaintiff’s Amended Complaint.

                                         15.

      The allegations contained in Paragraph 15 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent




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a response is required, Defendant denies the allegations contained in Paragraph 15

of Plaintiff’s Amended Complaint.

                                         16.

      The allegations contained in Paragraph 16 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant denies the allegations contained in Paragraph 16

of Plaintiff’s Amended Complaint.

                                         17.

      The allegations contained in Paragraph 17 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant denies the allegations contained in Paragraph 17

of Plaintiff’s Amended Complaint.

                                         18.

      The allegations contained in Paragraph 18 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant denies the allegations contained in Paragraph 18

of Plaintiff’s Amended Complaint.




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                                         19.

      The allegations contained in Paragraph 19 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant admits upon information and belief that Jay

Shetty is a resident of Los Angeles, California. Defendant denies the remaining

allegations contained in Paragraph 19 of Plaintiff’s Amended Complaint.

                                         20.

      The allegations contained in Paragraph 20 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

a response is required, Defendant admits upon information and belief that Radhi

Shetty is a resident of Los Angeles, California. Defendant denies the remaining

allegations contained in Paragraph 20 of Plaintiff’s Amended Complaint.

                                         21.

      Defendant admits that she is a resident of Miami, Florida, but Defendant

denies the remaining allegations contained in Paragraph 21 of Plaintiff’s Amended

Complaint.

                                         22.

      The allegations contained in Paragraph 22 of Plaintiff’s Amended Complaint

are not directed to this Defendant, and thus, no response is required. To the extent

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a response is required, Defendant admits upon information and belief that James

Brennan is a resident of Miami, Florida. Defendant denies the remaining

allegations contained in Paragraph 22 of Plaintiff’s Amended Complaint.

                        JURISDICTION AND VENUE

                                        23.

      Defendant admits this Court has subject matter jurisdiction over Plaintiff’s

Amended Complaint by virtue of 28 U.S.C. §§ 1331 and 1338, and under its

supplemental jurisdiction of 28 U.S.C. §1367, for the Counts that fall under the

Lanham Act, 15 U.S.C. § 1124(a). The remaining allegations contained in

Paragraph 23 of Plaintiff’s Amended Complaint are denied as stated.

                                        24.

      Defendant admits the allegations contained in Paragraph 24 of Plaintiff’s

Amended Complaint.

                                        25.

      Defendant denies the allegations contained in Paragraph 25 of Plaintiff’s

Amended Complaint.

                                        26.

      Defendant denies the allegations contained in Paragraph 26 of Plaintiff’s

Amended Complaint.

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                                       27.

      Defendant denies the allegations contained in Paragraph 27 of Plaintiff’s

Amended Complaint.

                              STATEMENT OF FACTS

                                       28.

      Defendant denies the allegations contained in Paragraph 28 of Plaintiff’s

Amended Complaint.

                                       29.

      Defendant denies the allegations contained in Paragraph 29 of Plaintiff’s

Amended Complaint.

                                       30.

      Paragraph 30 of Plaintiff’s Amended Complaint does not contain allegations

of fact that are susceptible of being admitted or denied, which therefore stand

denied by operation of law.

                                       31.

      Defendant denies the allegations contained in Paragraph 31 of Plaintiff’s

Amended Complaint.




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                                        32.

      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 32 of Plaintiff’s Amended Complaint

such that they are denied.

                                        33.

      Paragraph 33 of Plaintiff’s Amended Complaint does not contain allegations

of fact that are susceptible of being admitted or denied, which therefore stand

denied by operation of law.

                                        34.

      Defendant denies the allegations in Paragraph 34 of Plaintiff’s Amended

Complaint.

                Sama Camp’s Federal Trademark Registrations

                                        35.

      Defendant admits the allegations contained in Paragraph 35 of Plaintiff’s

Amended Complaint.

                                        36.

      Defendant admits the allegations contained in Paragraph 36 of Plaintiff’s

Amended Complaint.




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                                         37.

      Defendant states that the referenced USPTO registration as Exhibit C is a

legal document which speaks for itself. As such, Defendant, without admitting to

the validity or enforceability of the registration, admits that Exhibit C appears to

be an accurate depiction of the registration but denies the remaining allegations

contained in Paragraph 37 of Plaintiff’s Amended Complaint to the extent that they

conflict with the substance of Exhibit C.

                                         38.

      Defendant denies the allegations contained in Paragraph 38 of Plaintiff’s

Amended Complaint.

                                         39.

      Defendant denies the allegations contained in Paragraph 39 of Plaintiff’s

Amended Complaint.

                      Defendants’ Alleged Infringing Acts

                                         40.

      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 40 of Plaintiff’s Amended Complaint

such that they are denied.




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                                        41.

      Defendant denies the allegations contained in Paragraph 41 of Plaintiff’s

Amended Complaint.

                                        42.

      Defendant denies the allegations contained in Paragraph 42 of Plaintiff’s

Amended Complaint.

                                        43.

      Defendant denies the allegations contained in Paragraph 43 of Plaintiff’s

Amended Complaint.

                                        44.

      Defendant denies the allegations contained in Paragraph 44 of Plaintiff’s

Amended Complaint.

                                        45.

      Defendant admits Exhibit D appears to be a screenshot of a portion of

Defendant’s Instagram social media profile from an unknown date and time.

Defendant denies the remaining allegations contained in Paragraph 45 of Plaintiff’s

Amended Complaint.




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                                       46.

      Defendant admits she has never been affiliated with, sponsored, or licensed

by Sama Camp, LLC in any form. Defendant denies the remaining allegations

contained in Paragraph 46 of Plaintiff’s Amended Complaint.

                                       47.

      Defendant admits that she did not receive permission from Plaintiff, but

denies the remaining allegations contained in Paragraph 47 of Plaintiff’s Amended

Complaint.

                                       48.

      Defendant denies as stated the allegations contained in Paragraph 48 of

Plaintiff’s Amended Complaint.

                                       49.

      Defendant denies as stated the allegations contained in Paragraph 49 of

Plaintiff’s Amended Complaint.

                                       50.

      Defendant admits Defendant Sama Worldwide, Inc. is the owner of U.S.

Trademark Application Serial No. 90/016,315 filed on June 23, 2020, for the mark

SAMA in connection with “Tea; Beverages made of tea” in International Class 30.




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Defendant denies the remaining allegations contained in Paragraph 50 of Plaintiff’s

Amended Complaint.

                                         51.

      Defendant admits the USPTO rejected the U.S. Trademark Application

Serial No. 90/016,315 filed on June 23, 2020, for the mark SAMA in connection

with “Tea; Beverages made of tea” in International Class 30. Defendant denies the

remaining allegations contained in Paragraph 51 of Plaintiff’s Amended

Complaint.

                                         52.

      Defendant admits Defendant Sama Worldwide, Inc. f/k/a Sama Tea, LLC

filed a Petition for Cancellation of Registration of U.S. Registration No. 5,325,040

on April 29, 2021, on the basis of abandonment and non-use of the mark amongst

other things. Defendant denies the remaining allegations contained in Paragraph 52

of Plaintiff’s Amended Complaint.

                                         53.

      Defendant states that the referenced Petition for Cancellation No. 92077023

is a legal document which speaks for itself. As such, Defendant admits the

allegations contained in Paragraph 53 of Plaintiff’s Amended Complaint.




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                                       54.

      Defendant denies the allegations contained in Paragraph 54 of Plaintiff’s

Amended Complaint.

                                       55.

      Defendant denies the allegations contained in Paragraph 55 of Plaintiff’s

Amended Complaint.

                                       56.

      Defendant denies the allegations contained in Paragraph 56 of Plaintiff’s

Amended Complaint.

                                       57.

      The allegations contained in Paragraph 57 of Plaintiff’s Amended Complaint

are denied as stated.

                                       58.

      Defendant denies the allegations contained in Paragraph 58 of Plaintiff’s

Amended Complaint.

                                       59.

      Defendant denies the allegations contained in Paragraph 59 of Plaintiff’s

Amended Complaint.




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                                     60.

     Defendant denies the allegations contained in Paragraph 60 of Plaintiff’s

Amended Complaint.

               The Alleged Harm to Sama Camp as a Result

                 of Defendants’ Alleged Unlawful Conduct

                                     61.

     Defendant denies the allegations contained in Paragraph 61 of Plaintiff’s

Amended Complaint.

                                     62.

     Defendant denies the allegations contained in Paragraph 62 of Plaintiff’s

Amended Complaint.

                                     63.

     Defendant denies the allegations contained in Paragraph 63 of Plaintiff’s

Amended Complaint.

                                     64.

     Defendant denies the allegations contained in Paragraph 64 of Plaintiff’s

Amended Complaint.




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                                              65.

      Defendant denies the allegations contained in Paragraph 65 of Plaintiff’s

Amended Complaint.

                                              66.

      Defendant denies the allegations contained in Paragraph 66 of Plaintiff’s

Amended Complaint.

                                              67.

      Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 67 of Plaintiff’s Amended Complaint

such that they are denied.

                                              68.

      Defendant denies the allegations contained in Paragraph 68 of Plaintiff’s

Amended Complaint.

                                      COUNT I

               Federal Trademark Infringement – SAMA ®Mark
             (Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1))

                                              69.

      Defendant repleads and incorporates by reference the foregoing paragraphs

of this Answer as if fully restated herein.


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                                     70.

     Defendant denies the allegations contained in Paragraph 70 of Plaintiff’s

Amended Complaint.

                                     71.

     Defendant denies the allegations contained in Paragraph 71 of Plaintiff’s

Amended Complaint.

                                     72.

     Defendant denies the allegations contained in Paragraph 72 of Plaintiff’s

Amended Complaint.

                                     73.

     Defendant denies the allegations contained in Paragraph 73 of Plaintiff’s

Amended Complaint.

                                     74.

     Defendant denies the allegations contained in Paragraph 74 of Plaintiff’s

Amended Complaint.

                                     75.

     Defendant denies the allegations contained in Paragraph 75 of Plaintiff’s

Amended Complaint.




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                                     COUNT II

                           False Designation of Origin
             (Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))

                                              76.

      Defendant repleads and incorporates by reference the foregoing paragraphs

of this Answer as if fully restated herein.

                                              77.

      Defendant denies the allegations contained in Paragraph 77 of Plaintiff’s

Amended Complaint.

                                              78.

      Defendant denies the allegations contained in Paragraph 78 of Plaintiff’s

Amended Complaint.

                                              79.

      Defendant denies the allegations contained in Paragraph 79 of Plaintiff’s

Amended Complaint.

                                              80.

      Defendant denies the allegations contained in Paragraph 80 of Plaintiff’s

Amended Complaint.




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                                              81.

      Defendant denies the allegations contained in Paragraph 81 of Plaintiff’s

Amended Complaint.

                                              82.

      Defendant denies the allegations contained in Paragraph 82 of Plaintiff’s

Amended Complaint.

                                     COUNT III

         Common Law Trademark Infringement Under Georgia Law

                                              83.

      Defendant repleads and incorporates by reference the foregoing paragraphs

of this Answer as if fully restated herein.

                                              84.

      Defendant denies the allegations contained in Paragraph 84 of Plaintiff’s

Amended Complaint.

                                              85.

      Defendant denies the allegations contained in Paragraph 85 of Plaintiff’s

Amended Complaint.




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                                              86.

      Defendant denies the allegations contained in Paragraph 86 of Plaintiff’s

Amended Complaint.

                                              87.

      Defendant denies the allegations contained in Paragraph 87 of Plaintiff’s

Amended Complaint.

                                              88.

      Defendant denies the allegations contained in Paragraph 88 of Plaintiff’s

Amended Complaint.

                                              89.

      Defendant denies the allegations contained in Paragraph 89 of Plaintiff’s

Amended Complaint.

                                     COUNT IV

                     Unjust Enrichment Under Georgia Law

                                              90.

      Defendant repleads and incorporates by reference the foregoing paragraphs

of this Answer as if fully restated herein.




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                                              91.

      Defendant denies the allegations contained in Paragraph 91 of Plaintiff’s

Amended Complaint.

                                              92.

      Defendant denies the allegations contained in Paragraph 92 of Plaintiff’s

Amended Complaint.

                                              93.

      Defendant denies the allegations contained in Paragraph 93 of Plaintiff’s

Amended Complaint.

                                     COUNT V

                       Attorneys’ Fees Under Georgia Law
                              (O.C.G.A. § 13-6-11)

                                              94.

      Defendant repleads and incorporates by reference the foregoing paragraphs

of this Answer as if fully restated herein.

                                              95.

      The allegations in Paragraph 95 of Plaintiff’s Complaint call for a legal

conclusion and therefore no response is required. To the extent a response is

required, Defendant denies the allegations contained in this Paragraph as stated.


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                                       96.

     Defendant denies the allegations contained in Paragraph 96 of Plaintiff’s

Amended Complaint.

                                       97.

     Defendant denies the allegations contained in Paragraph 97 of Plaintiff’s

Amended Complaint.

                                       98.

     Defendant denies the allegations contained in Paragraph 98 of Plaintiff’s

Amended Complaint.

                                       99.

     Defendant denies the allegations contained in Paragraph 99 of Plaintiff’s

Amended Complaint.

                                      100.

     Defendant denies the allegations contained in Paragraph 100 of Plaintiff’s

Amended Complaint.

                                      101.

     Defendant denies the allegations contained in Paragraph 101 of Plaintiff’s

Amended Complaint.




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             ANSWER TO PLAINTIFF’S PRAYER FOR RELIEF

                                          102.

      In response to the unnumbered Paragraph following Paragraph 101 of

Plaintiff’s Amended Complaint beginning with the word “WHEREFORE,”

Defendant denies that she is liable to Plaintiff and that Plaintiff is entitled to any of

the relief sought, including but not limited to, the relief sought in Paragraphs A –

K, inclusive of subparts, of the Plaintiff’s Prayer for Relief.

                                          103.

                                GENERAL DENIAL

      Responding to each and every claim in Plaintiff’s Amended Complaint,

Defendant denies that she is liable to Plaintiff in any way, either in law or equity.

To the extent any paragraph, sentence, sub-paragraph, statement, or allegation in

Plaintiff’s Amended Complaint is neither expressly admitted nor denied by the

foregoing responsive answers and defenses, the same is hereby specifically denied.

Furthermore, Defendant specifically denies that Plaintiff is entitled to any of the

relief sought. Defendant requests a jury trial on all issues so triable.

      WHEREFORE, having fully responded to the Complaint, Defendant prays

that the Court:

     A.      dismiss the Plaintiff’s Amended Complaint with prejudice;

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    B.     cast all costs against the Plaintiff;

    C.     that, to the extent that the Court determines that the Plaintiff has failed

           to state legally viable claims, the Court award the Defendant her

           attorneys’ fees and expenses of litigation pursuant to the Lanham Act

           and the Court’s inherent powers; and

    D.     award Defendant such other and further relief as this Court deems just

           and necessary.

     Respectfully submitted this 21st day of July, 2022.

                                         WEINBERG, WHEELER,
                                         HUDGINS, GUNN & DIAL, LLC

                                         /s/ William C. Buhay_______
                                         William C. Buhay
                                         Georgia Bar No. 093940
                                         Briana A. Burrows
                                         Georgia Bar No. 915353
3344 Peachtree Rd., NE
Suite 2400                               Attorneys for Defendant Kim Perell
Atlanta, Georgia 30326
Ph: 404-876-2700
wbuhay@wwhgd.com
bburrows@wwhgd.com




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                      CERTIFICATE OF COMPLIANCE

      The undersigned counsel hereby certifies that this pleading complies with

the Local Rules of this Court, including Local Rules 5.1.C and 7.1.D. (N.D. Ga.) in

that it is composed in 14-point Times New Roman font.

      This 21st day of July, 2021.


                                        /s/ William C. Buhay_______
                                        William C. Buhay
                                        Georgia Bar No. 093940




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                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was electronically filed with the Clerk of

Court via CM/ECF, which will automatically serve the following counsel of

record:

      Marcy L. Sperry                         Zachary Eyster
      Tayah L. Woodard                        BEKIARES ELIEZER, LLP
      SPERRY IP LAW d/b/a VIVID IP            2870 Peachtree Rd., #512
      3017 Bolling Way, NE                    Atlanta GA 30305
      Atlanta, Georgia 30305                  zeyster@founderslegal.com
      tayah@vividip.com
      marcy@vividip.com                       Attorneys for Plaintiff

      Attorneys for Plaintiff

      This 21st day of July, 2022.


                                      WEINBERG, WHEELER,
                                      HUDGINS, GUNN & DIAL, LLC

                                      /s/ William C. Buhay_______
                                      William C. Buhay
                                      Georgia Bar No. 093940

                                      Attorneys for Defendant Kim Perell




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